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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA

NATIONAL RAILROAD PASSENGER
CORPORATION (AMTRAK),
                                                                Case No. 1:22-cv-01043-APM
                   Plaintiff,

       v.

Sublease Interest Obtained Pursuant to an Assignment and        ORAL ARGUMENT
Assumption of Leasehold Interest made as of January 25,         REQUESTED
2007, with said property interest Pertaining To Described
Leasehold Interests at Washington Union Station located
at 50 Massachusetts Avenue, NE Washington, D.C.
20002, UNION STATION INVESTCO, LLC, UNION
STATION SOLE MEMBER, LLC, KOOKMIN BANK
CO., LTD. INDIVIDUALLY AND IN ITS CAPACITY
AS TRUSTEE OF KTB CRE DEBT FUND NO. 8, A
KOREAN INVESTMENT TRUST, and UNKNOWN
OWNERS,

                   Defendants.


                DEFENDANTS UNION STATION INVESTCO LLC’S AND
              UNION STATION SOLE MEMBER LLC’S MOTION TO STRIKE

       Defendants Union Station Investco LLC (“Investco”) and Union Station Sole Member

LLC (“Sole Member,” and together with Investco, “Owners”) respectfully submit this motion,

pursuant to Rule 12(f) of the Federal Rules of Civil Procedure, to strike the purported answer,

ECF No. 36 (the “Neuberger/Investco Answer”), invalidly submitted on Investco’s behalf by the

law firm Neuberger, Quinn, Gielen, Rubin & Gibber, P.A. (“Neuberger”) at the behest of

Defendant Kookmin Bank Co., Ltd., as Trustee of KTB CRE Debt Fund No. 8 (“Lender”). The

motion should be granted for the reasons expressed in the accompanying memorandum of law

and Declaration of Yossi Preiserowicz (a/k/a “Joe Press”), both filed herewith. Owners request

oral argument on this motion.
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       Pursuant to Local Rule 7(c), a proposed order is submitted herewith.1



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                                        and Union Station Sole Member LLC



1
  Pursuant to L. Civ. R. 7(m), Owners’ counsel have conferred with Lender’s counsel and
Neuberger regarding the subject matter of this Motion, and it is Owners’ counsel’s understanding
that Lender and Neuberger oppose this Motion. It is Owners’ counsel’s understanding that
Amtrak takes no position on the Motion.

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